 1 PHILLIP A. TALBERT
   United States Attorney
 2 CHRISTOPHER S. HALES
   KEVIN C. KHASIGIAN
 3 Assistant United States Attorneys
   501 I Street, Suite 10-100
 4 Sacramento, CA 95814
   Telephone: (916) 554-2700
 5 Facsimile: (916) 554-2900

 6
   Attorneys for Plaintiff
 7 United States of America

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:20-CR-03-DAD

12                                Plaintiff,             GOVERNMENT’S SENTENCING
                                                         MEMORANDUM
13                          v.
                                                         DATE: January 31, 2023
14   RYAN GUIDRY,                                        TIME: 9:15 a.m.
                                                         COURT: Hon. Dale A. Drozd
15                                Defendant.

16

17          This matter is set for sentencing on January 31, 2023. Defendant Ryan Guidry pleaded guilty

18 pursuant to a plea agreement to two counts of an Information charging him with Conspiracy to Commit

19 an Offense Against the United States in violation of 18 U.S.C. § 371 (Count One) and Aiding and

20 Abetting Money Laundering in violation of 18 U.S.C. §§ 2 and 1957(a) (Count Two). ECF 1, 14, 16.

21                                 I.          RECOMMENDED SENTENCE
22          Consistent with the plea agreement, the United States recommends that the Court sentence

23 Guidry to the low end of the applicable Sentencing Guidelines range, subject to any additional motion

24 the government may make. Additionally, the government recommends that Guidry’s sentence include a

25 two-year term of supervised release, total restitution in the amount of $619,415,950.06 as specified in

26 the PSR, and a special assessment of $200.

27          Guidry’s restitution obligation should be imposed joint and several in its entirety with Jeff

28 Carpoff, Paulette Carpoff, Alan Hansen, Robert Karmann, and Joseph Bayliss, who have already been


      GOVERNMENT’S SENTENCING                            1
      MEMORANDUM
 1 sentenced in the case numbers listed in the table below. Seven people have pleaded guilty in connection

 2 with the DC Solar fraud scheme and Judge Mendez has sentenced five of them:

 3

 4                 Defendant                Job Title      Sentence        Case Number

 5                 Jeff Carpoff             CEO            30 years        2:20-CR-017-JAM

 6                 Paulette Carpoff         COO            11 yrs. 3 mos. 2:20-CR-018-JAM
                   Alan Hansen              Fleet Mgr.     8 years         2:20-CR-016-JAM
 7
                   Robert Karmann           CFO            6 years         2:19-CR-222 JAM
 8
                   Joseph Bayliss           Electrician    3 years         2:19-CR-182-JAM
 9

10 Remaining to be sentenced before this Court after reassignment are Ron Roach (2:19-CR-182-DAD)

11 and Mr. Guidry, who was DC Solar’s Vice President of Operations.

12                                    II.         NO FORMAL OBJECTIONS

13          The United States has no formal objections to the final PSR.

14                                  III.          18 U.S.C. § 3553(a) FACTORS
15          For the reasons stated here and in the PSR, a sentence at the low end of the properly calculated

16 Guidelines range, subject to any additional motion the government may make, is sufficient but not

17 greater than necessary to afford adequate deterrence, promote respect for the law, protect the public

18 from further crimes of the Defendant, and to provide just punishment. See 18 U.S.C. 3553(a)(2).

19          Guidry worked at DC Solar from approximately 2012 through 2019 and became Vice President

20 of Operations by 2015. PSR ¶¶ 7, 14, 85. Guidry accepted $1 million that he knew came from deceived

21 investors to get a signature on a false lease contract, and split another $20,000 in cash with Hansen for

22 forging a related estoppel agreement. ECF 13 at 22:10-24:13; PSR ¶¶ 14-17. Guidry also fabricated a

23 spreadsheet of false mobile solar generator (MSG) location information that he sent to Jeff Carpoff and a

24 broker who pitched DC Solar to investors, and helped trick investors during inspections by moving

25 MSGs around and replacing VIN numbers on MSGs. ECF 13 at 24:5-25:2; PSR ¶¶ 19-21. In short,

26 Guidry knew DC Solar was committing fraud and he sought to profit from it.

27          A.      Overview of the DC Solar fraud scheme
28          Intricacies of the DC Solar fraud scheme are detailed at greater length in the factual basis to


      GOVERNMENT’S SENTENCING                              2
      MEMORANDUM
 1 Guidry’s plea agreement and in the PSR. ECF 13, 45. DC Solar was a massive Ponzi-like scheme that

 2 ultimately defrauded investors of nearly $1 billion. ECF 13 at 16:3-13. The company sold mobile solar

 3 generators (“MSGs”), which were essentially solar panels placed on a trailer with wheels such that they

 4 could be moved about. ECF 13 at 16:13-16. Investor buyers were looking to obtain renewable energy

 5 tax credits and the revenue stream from leasing MSGs to end users. ECF 13 at 16-18. DC Solar’s

 6 business model was conducive to fraud: investors never took custody of the MSGs, instead leasing them

 7 back to DC Solar, who was in turn supposed to sublease them out to end users to generate revenue.

 8 ECF 13 at 16:13-17, 17:13-15. Most investors financed their MSG purchases with DC Solar, and

 9 therefore owed monthly payments to DC Solar on that debt. ECF 13 at 17:3-11. Sublease revenue was

10 supposed to cover that monthly debt, but for the business model to be sustainable DC Solar had to

11 succeed in subleasing MSGs out to real paying end users, or else the model would collapse. ECF 13 at

12 17:13-18:7.

13          The company claimed to investors that there was a robust market for their MSGs, but this was

14 false. ECF 13 at 16:16-19. In truth, there was no substantial market demand for DC Solar’s MSGs, and

15 they never secured significant subleases. ECF 13 at 20:1-11. Without sublease revenue, DC Solar

16 quickly became dependent on getting new investor money to pay its obligations to older investors. ECF

17 13 at 20:11-15. To do so the company hid its failures and faked its success while its products sat

18 unused. ECF 13 at 20:15-19. As DC Solar continued to hemorrhage money without any revenue engine

19 at its core, the company simply stopped building the mobile-solar generators that they claimed to be

20 selling to investors then leasing out. In truth, over 9,000 of the 17,000 MSGs the company sold were

21 never built at all. ECF 13 at 21:12-22. When investors tried to conduct inspections and audit their

22 MSGs, the conspirators including Guidry sought to fool them in various ways, including swapping VIN

23 numbers and temporarily moving MSGs around. ECF 13 at 24:5-25:2. The fraud scheme continued

24 until law enforcement executed searches and seizures in December 2018. ECF 13 at 21:3-22.

25          B.      Guidry knew DC Solar’s business model and that investors were being defrauded.
26          Guidry understood DC Solar’s business model and he knew the company was not earning

27 sufficient lease revenue to pay its obligations. ECF 13 at 22:4-6. He also knew that the company could

28 not survive if it did not close new investment transactions, and discussed this reality with the Carpoffs


      GOVERNMENT’S SENTENCING                            3
      MEMORANDUM
 1 and several others in the company. ECF 13 at 22:7-9. Guidry further knew that Jeff Carpoff was

 2 deceiving investors to induce their payments, and that the $1 million Guidry received came from

 3 investors that Carpoff was deceiving with Guidry’s help. ECF 13 at 22:9-11. Instead of trying to

 4 withdraw or stop the fraud, Guidry repeatedly chose to further it.

 5          C.     Guidry helped DC Solar helped fake third-party demand for MSGs and got over $1
                   million for it.
 6

 7          Guidry helped DC Solar fake third-party demand for its MSGs with false documents. The $1

 8 million Guidry received was in exchange for getting Hansen to sign a contract with Telecom Company

 9 A to lease 1,000 MSGs for approximately $1,100 each for at least ten years, a large supposed revenue

10 stream. ECF 13 at 22:10-14. Guidry learned that Carpoff was using the document Hansen signed to

11 deceive other investors into believing that Telecom Company A had agreed to pay fixed rent for the

12 duration of the agreement, which Guidry knew was false. ECF 13 at 22:20-23:3. Rather than exiting

13 the scheme or seeking to stop it at that point, Guidry instead discussed the fraud with other

14 coconspirators and concluded it was not his problem. ECF 23:1-3.

15          As DC Solar’s earliest fund investors approached a five-year ownership “flip” mark, they looked

16 to sell their ownership stake in their MSGs. ECF 13 at 19:8-22. Because most of the tax benefits of

17 MSGs had been used up at that point, prospective new buyers were primarily purchasing the prospective

18 revenue stream from DC Solar’s leasing of the MSGs to third parties. ECF 13 at 19:23-28. This is one

19 place where the fraudulent Telecom Company A contract came in handy; Jeff Carpoff used it to tell a

20 prospective flip buyer that 416 MSGs were leased to Telecom Company A for 10 years at a fixed

21 amount, while that was completely false. ECF 13 at 19:23-25. In truth, Telecom Company A never

22 leased 416 MSGs for 10 years at a fixed amount, and instead only leased a tiny fraction of that on an as-

23 needed basis. ECF 13 at 20:20-21:2. When DC Solar sought to reassign the purported revenue stream

24 from 416 of the 1,000 MSGs s supposedly leased by Telecom Company A, they needed an estoppel

25 agreement signed by Telecom Company A. ECF 13 at 23:14-20. The estoppel agreement was designed

26 to back up the lie about Telecom Company A and help close the flip transaction. ECF 13 at 20:27-21:2.

27          Guidry decided to help the fraud scheme further in exchange for more money by forging the

28 estoppel agreement. The problem was that Hansen (a former Telecom Company A employee) wouldn’t


      GOVERNMENT’S SENTENCING                           4
      MEMORANDUM
 1 sign the estoppel agreement, and Hansen told Guidry nobody else at Telecom Company A would either.

 2 ECF 13 at 23:20-23. After Jeff Carpoff promised $20,000, Guidry and Hansen hatched their plan to

 3 forge the signature of a former Telecom Company A employee on the estoppel agreement. ECF 13 at

 4 23:26-24:1. Guidry then provided the falsified document to Carpoff, who used it to help close the

 5 pending $34 million transaction. ECF 13 at 24:1-2. The $34 million flip deal closed, with a bank

 6 funding approximately 80 percent of the deal and smaller investors footing the balance. ECF 16 at

 7 19:13-20. Guidry and Hansen split the $20,000 cash that Carpoff pulled from his safe as payment. ECF

 8 13 at 24:2-4. Once again, rather than exiting the scheme or trying to stop it, Guidry chose the other path.

 9                 D.      Guidry helped conceal from investors that their MSGs were not in operation
                           and/or had never been built.
10

11          As Vice President of Operations, Guidry could have insisted that DC Solar provided investors

12 accurate information about whether their MSGs were in operation or had even been built. Instead,

13 Guidry opted to help deceive investors in a series of increasingly brazen maneuvers. As the most basic

14 example, Guidry compiled a fictional spreadsheet of locations for 416 MSGs using VIN numbers that

15 Jeff Carpoff provided to him. ECF 13 at 24:5-16. Guidry then emailed a copy of that false spreadsheet

16 to Carpoff and to a broker who pitched DC Solar to investors. ECF 13 at 24:13-15. As stated explicitly

17 in his plea agreement that he signed and to which he swore under oath, “Guidry knew the location report

18 was false and that the false report would be delivered to S-Sense in support of the A Group/K Bank

19 transaction.”1 ECF 13 at 24:14-16.

20          Moving to the next level, in 2017 and 2018 when DC Solar was no longer making the MSGs it

21 was selling, Guidry scraped old VIN stickers off of MSGs and put new ones on them. ECF 13 at 24:16-

22 24. Guidry did this at DC Solar warehouses in Benicia, California and Las Vegas, working with Jeff

23 Carpoff, Bayliss, and others. The whole point of the VIN switching was to trick investors during

24 inspections into believing that MSGs associated with the transaction under inspection existed and could

25 be found at the locations the company had asserted, when the opposite was true. ECF 13 at 24:19-22.

26
            1
27          A footnote in the PSR notes that through counsel during informal objections, Guidry claimed
   he “did not know the specific investors or bank transaction referenced in this sentence.” PSR at 9 n.3.
28 This contradicts the Plea Agreement to which Guidry swore under oath. ECF 13 at 22:14-16.


      GOVERNMENT’S SENTENCING                           5
      MEMORANDUM
 1          Finally, reaching a brazen level of fraud one might expect to see in movies instead of reality,

 2 Guidry and Carpoff scrambled to move MSGs to their supposed operation sites “one day before” and in

 3 some cases “on the day of” an investor inspection. ECF 13 at 24:24-25:1. This was done to trick the

 4 inspectors into believing those MSGs had been deployed at those sites all along, when the opposite was

 5 true. ECF 13 at 25:1-2.

 6          By the time Guidry was creating false reports, scraping VIN numbers, and running around

 7 getting MSGs in place hours before customer inspections, the fraud had clearly become his problem too.

 8 Guidry was deceiving investors and trying to prevent the fraud scheme that he helped build from being

 9 detected and crashing around him. Like other coconspirators sentenced before him, Guidry represents

10 another point that this fraud scheme should have stopped in its tracks instead of getting to almost $1

11 billion. Instead, Guidry proved himself corruptible and open to sticking around DC Solar to back the

12 fraud for cash, all while knowing that the money he was receiving came from investors that he had

13 helped defraud.

14                                         IV.       CONCLUSION
15          For the reasons stated above, in the plea agreement, and in the PSR, the government recommends

16 that the Court sentence the defendant Ryan Guidry to the low end of the applicable Sentencing

17 Guidelines range, subject to any additional motion the government may make, a two-year term of

18 supervised release, total restitution in the amount $619,415,950.06 as specified in the PSR, and a special

19 assessment of $200.

20                                                           Respectfully submitted,

21
      Dated: January 25, 2023                                PHILLIP A. TALBERT
22                                                           United States Attorney
23
                                                      By: /s/ CHRISTOPHER S. HALES
24                                                        CHRISTOPHER S. HALES
                                                          Assistant United States Attorney
25

26

27

28


      GOVERNMENT’S SENTENCING                            6
      MEMORANDUM
